               3:24-mj-03050-KLM # 5    Filed: 04/22/24   Page 1 of 9

ILCD v 1.0                                                                 03/31/22


             Zoom Connection Information for Judge McNaught

                       Zoom Link: https://zoom.com/join
                           Meeting ID: 160 363 06109
                       Audio Only (Call In): 551-285-1373

              CONNECTION INSTRUCTIONS FOR PC


              If You Already Have Zoom Installed on Your PC
  1. Open the Zoom application on your      3. In the first box, enter the Meeting
                  PC                                    ID found above

                                              4. In the second box, enter Your
                                                            Name
  2. Click the blue “Join Meeting” button
                                               5. Once you have filled both of
                                                those out, hit the Join button.
               3:24-mj-03050-KLM # 5   Filed: 04/22/24   Page 2 of 9

ILCD v 1.0                                                               11/18/21




              If You Do Not Have Zoom Installed on Your PC
                      Navigate to https://zoom.com/join
 On the website, enter the meeting ID found at the top of this packet and then
                             hit the Join button




   A new screen will come up and at the bottom of it there will be a Download
      Now link. Select that link to download the zoom client for this meeting.
                    3:24-mj-03050-KLM # 5                Filed: 04/22/24        Page 3 of 9

ILCD v 1.0                                                                                                11/18/21


   Depending on what web browser you are using (Chrome, Internet Explorer,
 Edge, Firefox), a download will start. Find where the download is at and open it
                                        like so




---------------------------------------------------------------------------------------------------------------------




                                     *Note*
   If the courtroom deputy has not started the meeting yet, you will encounter
                                   this screen




 Please keep this window open. Once the courtroom deputy starts the meeting,
       the screen will disappear, and you will be let into the waiting room.
              3:24-mj-03050-KLM # 5     Filed: 04/22/24   Page 4 of 9

ILCD v 1.0                                                                11/18/21


 Once the courtroom deputy starts the meeting, you will then come to a screen
                             that looks like this




You will need to wait here until the courtroom deputy lets you into the meeting.



                                       *Note*
  The courtroom deputy may send you a message while you are in the waiting
   room letting you and the other participants know if a hearing is running late
   or may provide other instructions. If you get a message while waiting for the
  courtroom deputy to let you into the meeting your screen will display a chat
                      window on the right side like this one:
              3:24-mj-03050-KLM # 5   Filed: 04/22/24   Page 5 of 9

ILCD v 1.0                                                            11/18/21


   Once you have been admitted into the meeting you will get a pop up that
          looks like this. Select the Join with Computer Audio button.
                 3:24-mj-03050-KLM # 5     Filed: 04/22/24   Page 6 of 9

ILCD v 1.0                                                                   11/18/21


             Connection Instructions for Mobile Devices
                              Open Zoom on your Phone

 If you have a Zoom account and are           If you do not have a Zoom account,
 already signed in, select the blue Join      open Zoom and select the blue Join
     button at the top of the screen                     Meeting button




                 In the first box, enter the Meeting ID found above
                        In the second box, enter Your Name
              Once you have filled both of those out, hit the Join button.
               3:24-mj-03050-KLM # 5     Filed: 04/22/24   Page 7 of 9

ILCD v 1.0                                                                 11/18/21




                                     *Note*
   If the courtroom deputy has not started the meeting yet, you will encounter
                                   this screen




  You may encounter a screen asking        Once the courtroom deputy starts the
   you if you want to join with video.     meeting, your screen will change to
  Depending on how you need to be           this. You will need to wait here until
   present in the hearing, toggle your    the courtroom deputy lets you into the
           video on or off here.                           meeting.
              3:24-mj-03050-KLM # 5     Filed: 04/22/24   Page 8 of 9

ILCD v 1.0                                                                11/18/21




                                       *Note*
  The courtroom deputy may send you a message while you are in the waiting
   room letting you and the other participants know if a hearing is running late
   or may provide other instructions. If you get a message while waiting for the
     courtroom deputy to let you into the meeting it will appear in the top left
     corner of your screen. Touching the chat icon will bring up the message
              3:24-mj-03050-KLM # 5   Filed: 04/22/24   Page 9 of 9

ILCD v 1.0                                                            11/18/21


  Once you have been admitted into the meeting, Zoom will ask you to enable
              your audio. Select the WiFi or Cellular Data option
